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CSD 1099 [05/01/2023]
                                                           INSTRUCTIONS

 1.        Local Form CSD 1101, Notice to Creditors of The Above-Named Debtor Added by Amendment or Balance of
           Schedules, may be used to notify any added entity. When applicable, copies of the following notices must accompany
           the notice: Order for and Notice of Section 341(a) Meeting, Discharge of Debtor, Notice of Order Confirming Plan,
           and Proof of Claim.

 2.        If not filed previously and this is an ECF case, the Declaration Re: Electronic Filing of Petition, Schedules &
           Statements (Local Form CSD 1801) must be filed in accordance with LBR 5005-4(c).

 3.        If this is a Chapter 11 case, each member of any committee appointed must be served this Balance of Schedules.


                                                        PROOF OF SERVICE

           I, whose address appears below, certify:

           That I am, and at all relevant times was, more than 18 years of age;

             I served a true copy of this Balance of Schedules and/or Chapter 13 Plan on the following persons listed below
             via the following method(s):
      1.     To Be Served by the Court via Notice of Electronic Filing (“NEF”):

               Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the court
      via NEF and hyperlink to the document. On Michael Koch                , I checked the CM/ECF docket for this
      bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice
      List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:




                   Chapter 7 Trustee:



                   For Chpt. 7, 11, & 12 cases:     For Chapter 13 cases assigned to:       For Chapter 13 cases assigned to:


                   UNITED STATES TRUSTEE            THOMAS H. BILLINGSLEA, JR., TRUSTEE     MICHAEL KOCH, TRUSTEE
                   ustp.region15@usdoj.gov          Billingslea@thb.coxatwork.com           mkoch@ch13.sdcoxmail.com


      2.     Served by United States Mail:

              On                                , I served the following person(s) and/or entity(ies) at the last known
      in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the United States
      Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:
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CSD 1099 [05/01/2023]
   3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

          Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
   and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
   transmission, by overnight delivery, and/or electronic mail as follows:




          I declare under penalty of perjury under the laws of the United States of America that the statements made in this
          proof of service are true and correct.



         Executed on      11/21/23                              Kennan E. Kaeder          Kennan E. Kaeder
                          (Date)                                (Typed Name and Signature)

                                                                645 Front St., No 707, San Diego, Ca 92101
                                                                (Address)



                                                                (City, State, ZIP Code)
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Fill in this information to identify your case and this filing:


Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                          $________________        $_______________
                                                                     Investment property
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                    Debtor 1 only
             _________________________________________
             County                                                 Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                      (see instructions)
                                                                    At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                   At least one of the debtors and another            (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the      Current value of the
                                                                                                                           entire property?          portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________         $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare
                                                                                                                           Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                     $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes

            Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                     ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
            Year:                      ____________                                                                        Current value of the       Current value of the
                                                                     Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                              entire property?           portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                     Check if this is community property (see              $________________          $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                      ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       ____________                                                                        Current value of the       Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                           entire property?           portion you own?
           Approximate mileage: ____________                         At least one of the debtors and another
           Other information:
                                                                     Check if this is community property (see              $________________          $________________
                                                                     instructions)




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                  First Name          Middle Name               Last Name




           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the           Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?               portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________              $________________
                                                                                  instructions)


           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the           Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?               portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________              $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the           Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?               portion you own?

                                                                                  Check if this is community property (see                              $________________              $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the           Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?               portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________              $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




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Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                            portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........                                                                                                                                                               $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
      Yes. Describe. .........                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe. ..........                                                                                                                                                               $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                      Schedule A/B: Property                                                                                              page 4
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                   First Name              Middle Name                       Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                  Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                                             or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
      Yes ................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                                 Institution name:


                                            17.1. Checking account:                             _________________________________________________________                                                     $__________________

                                            17.2. Checking account:                             _________________________________________________________                                                     $__________________

                                            17.3. Savings account:                              _________________________________________________________                                                     $__________________

                                            17.4. Savings account:                              _________________________________________________________                                                     $__________________

                                            17.5. Certificates of deposit:                      _________________________________________________________                                                     $__________________

                                            17.6. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.7. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.8. Other financial account:                      _________________________________________________________                                                     $__________________

                                            17.9. Other financial account:                      _________________________________________________________                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes .................                 Institution or issuer name:

                                            _________________________________________________________________________________________                                                                         $__________________
                                            _________________________________________________________________________________________                                                                         $__________________
                                            _________________________________________________________________________________________                                                                         $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

      No                                    Name of entity:                                                                                                                  % of ownership:
      Yes. Give specific                    _____________________________________________________________________                                                            ___________%                     $__________________
      information about
      them.........................         _____________________________________________________________________                                                            ___________%                     $__________________
                                            _____________________________________________________________________                                                            ___________%                     $__________________




                                                                                               Schedule A/B: Property                                                                                                     page 5
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                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:       ___________________________________________________________________        $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

       No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


                                                                           Schedule A/B: Property                                                        page 6
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                   First Name           Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

       No
       Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



                                                                           Schedule A/B: Property                                                                page 7
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                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
        No
        Yes. Give specific information. .............
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

        No
        Yes. Give specific information............
                                                                                                                                                                                               $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

        No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                $_____________________



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                                                                           58         Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________


41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                $_____________________


42. Interests in partnerships or joint ventures

        No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________


43. Customer lists, mailing lists, or other compilations
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                              $____________________


44. Any business-related property you did not already list
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                          $____________________
        information .........
                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
        No
        Yes ..........................

                                                                                                                                                                                               $___________________



                                                                                      Schedule A/B: Property                                                                                              page 9
                Case 23-03508-CL13                                       Filed 11/21/23
                                                                           Entered 11/21/23 20:53:18 Doc 11 Pg. 13 of
 Debtor 1              _______________________________________________________
                                                                              58         Case number (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48. Crops—either growing or harvested

           No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $___________________
     for Part 6. Write that number here ....................................................................................................................................................



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
                                                                                                                                                                                                         $________________
           Yes. Give specific
           information. ............                                                                                                                                                                     $________________
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                     $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................    $________________

56. Part 2: Total vehicles, line 5                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                             $________________

58. Part 4: Total financial assets, line 36                                                                         $________________

59. Part 5: Total business-related property, line 45                                                                $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                       $________________

61. Part 7: Total other property not listed, line 54                                                            + $________________
62. Total personal property. Add lines 56 through 61. ....................                                          $________________ Copy personal property total                                     + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                             $_________________



                                                                                           Schedule A/B: Property                                                                                                page 10
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                                                                                 58
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                Check if this is an
  (If known)
                                                                                                                                                amended filing



                                  106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________              $ ____________                        ____________________________
                                                                                           100% of fair market value, up to      ____________________________
      Line from
                                                                                           any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________              $ ____________                        ____________________________
                                                                                           100% of fair market value, up to      ____________________________
      Line from     ______                                                                 any applicable statutory limit        ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:
                             _________________________      $________________              $ ____________                        ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                 any applicable statutory limit        ____________________________


     Are you claiming a homestead exemption of more than $                          ?
     (Subject to adjustment on 4/01/        and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
           Case 23-03508-CL13                  Filed 11/21/23            Entered 11/21/23 20:53:18                     Doc 11     Pg. 15 of
                                                                           58
Debtor 1     _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from     ______
                                                                                  any applicable statutory limit        ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from
                   ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from     ______
                                                                                  any applicable statutory limit        ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from
                   ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from     ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from     ______
                                                                                  any applicable statutory limit        ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from
                                                                                                                        ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                   ______
                                                                                  any applicable statutory limit        ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
     Line from                                                                    100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                              ____________________________
     description:
                          _________________________     $________________         $ ____________                        ____________________________
                                                                                  100% of fair market value, up to      ____________________________
     Line from     ______                                                         any applicable statutory limit        ____________________________
     Schedule A/B:


                                                      Schedule C: The Property You Claim as Exempt                                       page ___ of __
                Case 23-03508-CL13                        Filed 11/21/23                   Entered 11/21/23 20:53:18                       Doc 11        Pg. 16 of
                                                                                             58
Fill in this information to identify your case:

 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


          106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code
                                                                Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
        Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code
                                                                Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
        Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


   fficial Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
            Case 23-03508-CL13                      Filed 11/21/23               Entered 11/21/23 20:53:18                            Doc 11         Pg. 17 of
                                                                                   58
Debtor 1         _______________________________________________________                                      Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                           Column A               Column B              Column C
Part 1:                                                                                                                Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                       Do not deduct the
             by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                         Contingent
   ______________________________________                Unliquidated
   City                         State    ZIP Code
                                                         Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
      Debtor 1 only
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                     $_________________

                                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___ of ___
           Case 23-03508-CL13                  Filed 11/21/23            Entered 11/21/23 20:53:18                     Doc 11         Pg. 18 of
                                                                           58
Debtor 1      _______________________________________________________                           Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



                                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
                  Case 23-03508-CL13                         Filed 11/21/23             Entered 11/21/23 20:53:18                        Doc 11       Pg. 19 of
                                                                                          58
  Fill in this information to identify your case:

      Debtor 1          __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: __________ District of __________
                                                                                                                                                           Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


           106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
              No. Go to Part 2.
              Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                  Debtor 1 only
                  Debtor 2 only                                        Type of PRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                  At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                  No                                                       Other. Specify _________________________________
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
           ____________________________________________
           City                                State    ZIP Code           Unliquidated

           Who incurred the debt? Check one.                               Disputed
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only
                                                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
            Case 23-03508-CL13                        Filed 11/21/23               Entered 11/21/23 20:53:18 Doc 11 Pg. 20 of
Debtor 1          _______________________________________________________
                  First Name     Middle Name          Last Name
                                                                                     58          Case number (if known)_____________________________________


Part 1:           Your PRIORITY Unsecured Claims                   Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                               amount       amount


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number            Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


                                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
              Case 23-03508-CL13                         Filed 11/21/23           Entered 11/21/23 20:53:18 Doc 11 Pg. 21 of
 Debtor 1           _______________________________________________________
                    First Name       Middle Name           Last Name
                                                                                    58          Case number (if known)_____________________________________


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1
       _____________________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                           $__________________
                                                                                     When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________
       City                                             State          ZIP Code      As of the date you file, the claim is: Check all that apply.

                                                                                         Contingent
       Who incurred the debt? Check one.                                                 Unliquidated
              Debtor 1 only                                                              Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                    Student loans

              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts
              No                                                                         Other. Specify ______________________________________
              Yes

4.2                                                                                  Last 4 digits of account number ___ ___ ___ ___                         $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________

       _____________________________________________________________
       Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                         Contingent
       Who incurred the debt? Check one.                                                 Unliquidated
                                                                                         Disputed
              Debtor 1 only
              Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                    Student loans
                                                                                         Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts

              No                                                                         Other. Specify ______________________________________

              Yes

4.3
       _____________________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                           $_________________
                                                                                     When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       _____________________________________________________________                 As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                         Contingent
       Who incurred the debt? Check one.
                                                                                         Unliquidated
              Debtor 1 only
                                                                                         Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                         Student loans
              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
       Is the claim subject to offset?
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
              No
                                                                                         Other. Specify ______________________________________
              Yes




                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                       page __ of ___
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Debtor 1          _______________________________________________________
                  First Name       Middle Name           Last Name
                                                                                    58          Case number (if known)_____________________________________



Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                       Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________________                                                                                             $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




                                                                                       Last 4 digits of account number ___ ___ ___ ___                         $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes


                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___
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Debtor 1       _______________________________________________________
               First Name    Middle Name           Last Name
                                                                             58          Case number (if known)_____________________________________


Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                          Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                          Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___ ___ ___ ___


                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           Case 23-03508-CL13                   Filed 11/21/23           Entered 11/21/23 20:53:18 Doc 11 Pg. 24 of
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name
                                                                           58          Case number (if known)_____________________________________



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                         $_________________________




                                                      Schedule E/F: Creditors Who Have Unsecured Claims                                  page __ of ___
            Case 23-03508-CL13                      Filed 11/21/23           Entered 11/21/23 20:53:18                  Doc 11         Pg. 25 of
                                                                               58
 Fill in this information to identify your case:

 Debtor               __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: __________ District of ________

 Case number           ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                            amended filing


          106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
           Case 23-03508-CL13              Filed 11/21/23        Entered 11/21/23 20:53:18               Doc 11        Pg. 26 of
                                                                   58
Debtor 1     _______________________________________________________               Case number (if known)_____________________________________
             First Name   Middle Name       Last Name



            Additional Page if You Have More Contracts or Leases

      Person or company with whom you have the contract or lease                What the contract or lease is for

2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



                                        Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
            Case 23-03508-CL13                            Filed 11/21/23               Entered 11/21/23 20:53:18          Doc 11        Pg. 27 of
                                                                                         58
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: __________ District of ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

          106H
Schedule H: Your Codebtors                                                                                                                            12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name
                                                                                                              Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                      page 1 of ___
              Case 23-03508-CL13             Filed 11/21/23          Entered 11/21/23 20:53:18                Doc 11        Pg. 28 of
                                                                       58
Debtor 1        _______________________________________________________                 Case number (if known)_____________________________________
                First Name     Middle Name    Last Name




                Additional Page to List More Codebtors

      Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code
3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code




                                                           Schedule H: Your Codebtors                                              page ___ of ___
               Case 23-03508-CL13                 Filed 11/21/23          Entered 11/21/23 20:53:18                  Doc 11         Pg. 29 of
                                                                            58

 Fill in this information to identify your case:


 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: __________ District of ___________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
                           106I                                                                         MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                Employed                                         Employed
    employers.                                                            Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________            __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________             __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.
                                                                                               $___________              $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________               $____________




Official Form 106I                                              Schedule I: Your Income                                                       page 1
           Case 23-03508-CL13                                   Filed 11/21/23                      Entered 11/21/23 20:53:18                        Doc 11        Pg. 30 of
                                                                                                      58
Debtor 1         _______________________________________________________                                                       Case number (if known)_____________________________________
                  First Name          Middle Name                Last Name



                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                   non-filing spouse

   Copy line 4 here ...............................................................................................   4.       $___________          $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                5a.     $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                                 5b.     $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                                 5c.     $____________          $_____________
     5d. Required repayments of retirement fund loans                                                                 5d.     $____________          $_____________
     5e. Insurance                                                                                                    5e.     $____________          $_____________
     5f. Domestic support obligations                                                                                 5f.     $____________          $_____________

     5g. Union dues                                                                                                   5g.     $____________          $_____________

     5h. Other deductions. Specify: __________________________________                                                5h.    + $____________       + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.      $____________          $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.      $____________          $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                              $____________          $_____________
           monthly net income.                                                                                        8a.
     8b. Interest and dividends                                                                                       8b.     $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                              $____________          $_____________
           settlement, and property settlement.                                                                       8c.
     8d. Unemployment compensation                                                                                    8d.     $____________          $_____________
     8e. Social Security                                                                                              8e.     $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                     $____________          $_____________

     8g. Pension or retirement income                                                                                 8g.     $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                               8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                             9.      $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10 .    $___________     +     $_____________       = $_____________
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                        11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                              12.     $_____________
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
           Yes. Explain:


                                                                                        Schedule I: Your Income                                                                page 2
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                                                                                58

   Fill in this information to identify your case:

   Debtor 1          __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: __________ District of __________                               expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




                                    106J
 Schedule J: Your Expenses                                                                                                                              12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s      Does dependent live
    Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age              with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                 No
    Do not state the dependents’                                                    _________________________                ________
    names.                                                                                                                                       Yes

                                                                                    _________________________                ________            No
                                                                                                                                                 Yes

                                                                                    _________________________                ________            No
                                                                                                                                                 Yes

                                                                                    _________________________                ________            No
                                                                                                                                                 Yes

                                                                                    _________________________                ________            No
                                                                                                                                                 Yes

 3. Do your expenses include
                                                 No
    expenses of people other than
    yourself and your dependents?                Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official Form 106J                                             Schedule J: Your Expenses                                                            page 1
            Case 23-03508-CL13                   Filed 11/21/23              Entered 11/21/23 20:53:18             Doc 11      Pg. 32 of
                                                                               58

 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                            7.     $_____________________

 8. Childcare and children’s education costs                                                                  8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_____________________
10.   Personal care products and services                                                                     10.    $_____________________
11.   Medical and dental expenses                                                                             11.    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $_____________________
      15b. Health insurance                                                                                   15b.   $_____________________
      15c. Vehicle insurance                                                                                  15c.   $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.    $_____________________

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.   $_____________________

      20b. Real estate taxes                                                                                  20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________



                                                               Schedule J: Your Expenses                                                   page 2
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                                                                            58

 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.    +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                            22a.      $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.      $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                         22c.      $_____________________



23. Calculate your monthly net income.

             Copy line 12 (your combined monthly income) from Schedule I.                                                $_____________________
      23a.                                                                                                      23a.

      23b.   Copy your monthly expenses from line 22c above.                                                    23b.    – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




                                                              Schedule J: Your Expenses                                                       page 3
                Case 23-03508-CL13                      Filed 11/21/23           Entered 11/21/23 20:53:18                      Doc 11   Pg. 34 of
                                                                                   58
Fill in this information to identify your case:

Debtor 1          __________________________________________________________________
                    First Name                Middle Name           Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name           Last Name


United States Bankruptcy Court for the: __________ District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



                                     106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                   12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




              Kennan E. Kaeder
          ______________________________________________               _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
              Case 23-03508-CL13                  Filed 11/21/23          Entered 11/21/23 20:53:18                  Doc 11         Pg. 35 of
                                                                            58
 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1          __________________________________________________________________                           this Statement:
                     First Name             Middle Name            Last Name

 Debtor 2            ________________________________________________________________                              1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name            Last Name                                          under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________ District of __________                                         2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                        3. The commitment period is 3 years.
                                                                                                                   4. The commitment period is 5 years.


                                                                                                                   Check if this is an amended filing



Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                            10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:           Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
          Not married. Fill out Column A, lines 2-11.
          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).                                                                             $__________            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.                          $__________            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                $_________             $__________

5. Net income from operating a business, profession, or
                                                                   Debtor 1    Debtor 2
    farm
    Gross receipts (before all deductions)                           $______    $______

    Ordinary and necessary operating expenses                      – $______ – $______
                                                                                           Copy
    Net monthly income from a business, profession, or farm
                                                                     $______    $______ here         $_________            $__________

6. Net income from rental and other real property                  Debtor 1    Debtor 2

    Gross receipts (before all deductions)                           $______    $______

    Ordinary and necessary operating expenses                      – $______ – $______
                                                                                           Copy
    Net monthly income from rental or other real property            $______    $______ here         $_________            $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 1
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                                                                                                                               58
Debtor 1               _______________________________________________________                                                                                       Case number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A               Column B
                                                                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                $____________           $__________

8. Unemployment compensation                                                                                                                                         $____________           $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................

        For you .....................................................................................              $_____________
        For your spouse .....................................................................                      $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.                                                                                            $____________           $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
        __________________________________________________________________
                                                                                                                                                                     $____________          $___________

        __________________________________________________________________
                                                                                                                                                                     $____________          $___________

       Total amounts from separate pages, if any.                                                                                                               + $____________            + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                              $____________     +    $___________       = $________
                                                                                                                                                                                                                    Total average
                                                                                                                                                                                                                    monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                             $_____________
13. Calculate the marital adjustment. Check one:

          You are not married. Fill in 0 below.
          You are married and your spouse is filing with you. Fill in 0 below.
          You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                               + $___________
           Total ................................................................................................................................................      $___________                             ____________
                                                                                                                                                                                         Copy here



14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                     $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                Case 23-03508-CL13                                             Filed 11/21/23                                Entered 11/21/23 20:53:18                                                        Doc 11                     Pg. 37 of
                                                                                                                               58
Debtor 1               _______________________________________________________                                                                                       Case number (if known)_____________________________________
                       First Name              Middle Name                       Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                       ...........................................................................................................................................................................................
                                                                                                                                                                                                                                                $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                           x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                                 $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                 _________

     16b. Fill in the number of people in your household.                                                      _________


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                                $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Part 3:                Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11. ............................................................................................................................
                                                                                                                                                                                                                                                 $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                                                 $__________

     19b. Subtract line 19a from line 18.                                                                                                                                                                                                        $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                                 $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                                                  x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                                 $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                                 $___________


21. How do the lines compare?


           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                               page 3
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                                                                         58
Debtor 1     _______________________________________________________                          Case number (if known)_____________________________________
             First Name     Middle Name        Last Name



Part 4:     Sign Below


            By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.
                     Kennan E. Kaeder
                ___________________________________________________                     ____________________________________
               Signature of Debtor 1                                                    Signature of Debtor 2


               Date _________________                                                   Date _________________
                      MM / DD   / YYYY                                                       MM /   DD    / YYYY

            If you checked 17a, do NOT fill out or file Form 122C–2.
            If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 4
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                                                                               58

 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


 United States Bankruptcy Court for the: __________ District of _________

 Case number         ___________________________________________
 (If known)
                                                                                                                  Check if this is an amended filing



          122C-2
Chapter 13 Calculation of Your Disposable Income
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:           Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerks office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C1, and do not deduct any amounts that you subtracted from your
   spouses income in line 13 of Form 122C1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




      5.   The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax
           return, plus the number of any additional dependents whom you support. This number may
           be different from the number of people in your household.



      National
                                  You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



      6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                              $________



      7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
           categories people who are under 65 and people who are 65 or older because older people have a higher IRS
           allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
           additional amount on line 22.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                           page 1
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                                                                                                   58
Debtor 1        _______________________________________________________                                                        Case number (if known)_____________________________________
                First Name          Middle Name                Last Name




            People who are under 65 years of age

             7a. Out-of-pocket health care allowance per person $______________

             7b. Number of people who are under 65                                     X ______
                                                                                                                      Copy
             7c. Subtotal. Multiply line 7a by line 7b.                                $______________                              $___________
                                                                                                                      here

              People who are 65 years of age or older

             7d. Out-of-pocket health care allowance per person $______________

             7e. Number of people who are 65 or older                                  X ______
                                                                                                                      Copy
             7f. Subtotal. Multiply line 7d by line 7e.                                $______________                here
                                                                                                                                  + $__________

       7g. Total. Add lines 7c and 7f. ...................................................................................................... $___________   Copy here     .......   $________


     Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
       Housing and utilities  Insurance and operating expenses
       Housing and utilities  Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
    specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerks office.

    8. Housing and utilities  Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                                                                                             $________


    9. Housing and utilities  Mortgage or rent expenses:

             9a. Using the number of people you entered in line 5, fill in the dollar amount
                  listed for your county for mortgage or rent expenses.                                                              $____________

             9b. Total average monthly payment for all mortgages and other debts secured by
                  your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                         Name of the creditor                                              Average monthly
                                                                                           payment


                      _________________________________                                     $__________
                      _________________________________                                     $__________
                      _________________________________
                                                                                       + $__________
                                                                                                                      Copy                                   Repeat this amount
                                  9b. Total average monthly payment                         $__________                                $____________on line 33a.
                                                                                                                      here

            9c. Net mortgage or rent expense.
                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                         $____________ Copy here               .......   $________
                  rent expense). If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Programs division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                     $________
       the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain           _______________________________________________________________
             why:
                               _______________________________________________________________


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                 First Name     Middle Name          Last Name



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                    0. Go to line 14.
                    1. Go to line 12.
                    2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                    $_______


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


            Vehicle 1          Describe Vehicle 1:     _________________________________________________________________
                                                       _________________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard .......................................      $____________

       13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e,
               add all amounts that are contractually due to each secured
               creditor in the 60 months after you file for bankruptcy. Then divide
               by 60.

                 Name of each creditor for Vehicle 1               Average monthly
                                                                   payment

                _________________________________                     $__________
                _________________________________                 + $__________
                                                                                             Copy                             Repeat this amount
                              Total average monthly payment                                                  $___________ on line 33b.
                                                                      $__________            here

       13c. Net Vehicle 1 ownership or lease expense                                                                           Copy net Vehicle
               Subtract line 13b from line 13a. If this number is less than $0, enter $0. ............       $___________      1 expense here       $_______


            Vehicle 2          Describe Vehicle 2:     _________________________________________________________________
                                                       _________________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard ...................................       $___________

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                 Name of each creditor for Vehicle 2               Average monthly
                                                                   payment
                _________________________________                     $__________
                _________________________________                 + $__________
                                                                                             Copy                             Repeat this amount
                              Total average monthly payment                                                  $___________ on line 33c.
                                                                      $__________            here


           13f. Net Vehicle 2 ownership or lease expense                                                                       Copy net Vehicle
                                                                                                             $__________       2 expense here       $_______
               Subtract line 13e from 13d. If this number is less than $0, enter $0....................


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                        $_______


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                  $_______


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                   First Name     Middle Name         Last Name



     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                                           $_______
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                                  $_______

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouses term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouses life insurance, or for any form of
       life insurance other than term.                                                                                                                                       $_______

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                                    $_______
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
             as a condition for your job, or                                                                                                                                 $_______
             for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                             $_______
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                             $_______
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                                 + $________
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                     $________
       Add lines 6 through 23.

     Additional Expense                   These are additional deductions allowed by the Means Test.
     Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                       $__________

           Disability insurance                                   $__________
           Health savings account                            +    $__________
           Total                                                  $__________     Copy total here   ......................................................................   $________

           Do you actually spend this total amount?
              No. How much do you actually spend?
                                                                  $__________
              Yes

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may                                                          $_______
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
                                                                                                                                                                             $_______
       By law, the court must keep the nature of these expenses confidential.


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                   First Name          Middle Name                 Last Name




       Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                                    $_______
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


       Education expenses for dependent children who are younger than 18. The monthly expenses (not more
                                                                                                                                                                               $_______
       than $1       * per child) that you pay for your dependent children who are younger than 18 years old to attend a
       private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/                      , and every 3 years after that for cases begun on or after the date of adjustment.


        Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                                    $_______
       than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerks office.
       You must show that the additional amount claimed is reasonable and necessary.

           Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).                                                                                + $________
       Do not include any amount more than 15% of your gross monthly income.

           Add all of the additional expense deductions.                                                                                                                     $_________
       Add lines 25 through 31.


     Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
           loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                          Average monthly
                                                                                                                                          payment
            Mortgages on your home

            33a. Copy line 9b here ...................................................................................................     $___________

            Loans on your first two vehicles

            33b. Copy line 13b here. ...............................................................................................       $___________


            33c. Copy line 13e here. ...............................................................................................       $___________

            33d. List other secured debts:


                     Name of each creditor for other                                 Identify property that            Does
                     secured debt                                                    secures the debt                  payment
                                                                                                                       include taxes
                                                                                                                       or insurance?

                                                                                                                             No
                                                                                                                                           $___________
                      ___________________________________ ________________________                                           Yes
                                                                                                                             No
                                                                                                                                           $___________
                      ___________________________________ ________________________                                           Yes
                                                                                                                             No
                                                                                                                                         + $___________
                      ___________________________________ ________________________                                           Yes
                                                                                                                                                             Copy total
            33e. Total average monthly payment. Add lines 33a through 33d. ..........................................                      $___________                        $_______
                                                                                                                                                             here


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                  First Name             Middle Name                    Last Name




   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
       for your support or the support of your dependents?


             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                  possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

                          Name of the creditor                             Identify property that                   Total cure                                    Monthly cure amount
                                                                           secures the debt                         amount


                       _________________________                           __________________                       $__________                ÷ 60 =             $___________


                       _________________________                           __________________                       $__________                ÷ 60 =             $___________


                       _________________________                           __________________                       $__________                ÷ 60 = + $___________
                                                                                                                                                                                        Copy
                                                                                                                                               Total              $___________          total       $_______
                                                                                                                                                                                        here


   35. Do you owe any priority claims    such as a priority tax, child support, or alimony                                                                that are past due as of
       the filing date of your bankruptcy case? 11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.

                       Total amount of all past-due priority claims. ....................................................................                         $______________       ÷ 60        $_______



   36. Projected monthly Chapter 13 plan payment                                                                                                                  $______________

       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).
                                                                                                                                                              x    ______
       To find a list of district multipliers that includes your district, go online using the link
       specified in the separate instructions for this form. This list may also be available at the
       bankruptcy clerks office.
                                                                                                                                                                                        Copy
       Average monthly administrative expense                                                                                                                     $______________       total       $_______
                                                                                                                                                                                        here


   37. Add all of the deductions for debt payment. Add lines 33e through 36.
                                                                                                                                                                                                    $_______




     Total Deductions from Income

   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ...................................                                                  $______________

      Copy line 32, All of the additional expense deductions ......................................................................                               $______________

      Copy line 37, All of the deductions for debt payment ......................................................................... + $______________
                                                                                                                                                                                        Copy
      Total deductions ........................................................................................................................................   $______________       total       $_______
                                                                                                                                                                                        here




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                   First Name         Middle Name               Last Name


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                        $_______
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ...................................................................

40. Fill in any reasonably necessary income you receive for support for dependent
     children. The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part I of Form 122C-1, that you                                             $____________
     received in accordance with applicable nonbankruptcy law to the extent reasonably
     necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as
                                                                                                                                        $____________
     specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
     plans, as specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............                                      $____________


43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances
     and their expenses. You must give your case trustee a detailed explanation of the
     special circumstances and documentation for the expenses.

      Describe the special circumstances                                                   Amount of expense

       ______________________________________________________                                 $___________

       ______________________________________________________
                                                                                              $___________
       ______________________________________________________                              + $___________
                                                                                                                       Copy here
                                                                            Total             $___________                             + $_____________

                                                                                                                                        $____________
44. Total adjustments. Add lines 40 through 43. ....................................................................................                      Copy here      $______


45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                           $_______




Part 3:             Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
     or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
     open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
     122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
     occurred, and fill in the amount of the increase.

      Form                 Line       Reason for change                                          Date of change              Increase or       Amount of change
                                                                                                                             decrease?

          122C 1                                                                                                                Increase
                          ____         _______________________________                          ____________                                  $____________
          122C 2                                                                                                                Decrease

          122C 1                                                                                                                Increase
                          ____         _______________________________                          ____________                                  $____________
          122C 2                                                                                                                Decrease


          122C 1                                                                                                                Increase
                          ____         _______________________________                          ____________                                  $____________
          122C 2                                                                                                                Decrease


          122C 1                                                                                                                Increase
                          ____         _______________________________                          ____________                                  $____________
          122C 2                                                                                                                Decrease




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Debtor 1       _______________________________________________________                         Case number (if known)_____________________________________
               First Name            Middle Name   Last Name



Part 4:         Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      Kennan E. Kaeder
    ___________________________________________________                    __________________________________
    Signature of Debtor 1                                                   Signature of Debtor 2


    Date _________________                                                  Date _________________
           MM / DD          / YYYY                                               MM / DD      / YYYY




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CSD 1300 [01/01/2022]                                           58

United States Bankruptcy Court
Southern District of California

                   KENNAN EDWARD KAEDER                                          Case Number: 23-03508-CL-13

                                                                                    Check if this is an amended plan, and list below the
                                                                                    sections of the plan that have been changed.




Mandatory Chapter 13 Plan
Dated: 11/21/2023


  Part 1:        Notices

To All Parties in Interest:
                 The court has provided guidelines for use of this form that can be found in CSD 1300A.
                 This plan does not provide for avoidance of a lien which impairs an exemption. This
                 must be sought by separate motion.


To Debtors:
                 In some places this form provides you with options. You should carefully consider
                 whether you need to elect among the options. If you do, you should carefully consider
                 which option is appropriate.
                 In the following notice to creditors, you must check each box that applies.


To Creditors:
                 Your rights may be affected by this plan. Your claim may be reduced, modified, or
                 eliminated.
                 You should read this plan carefully and discuss it with your attorney, if you have one in this
                 bankruptcy case. If you do not have an attorney, you may wish to consult one.
                 If you oppose the plan’s treatment of your claim or any provision of this plan, you or your
                 attorney must file an objection to confirmation in accordance with Southern District of
                 California Local Bankruptcy Rule 3015-5 within 7 days after the filing of the Notice of Meeting
                 of Creditors Held and Concluded. Untimely objections may not be considered. Any such
                 objections must be noticed for hearing at least 28 days after filing the objection. The Court
                 may confirm this plan without further notice if no objection to confirmation is filed. See
                 Bankruptcy Rule 3015(f). In addition, you may need to file a timely proof of claim in order to
                 be paid under any plan.
                 The following matters may be of particular importance. Debtors must check one box on each
                 line to state whether or not the plan includes each of the following items. If an item is
                 checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set
                 out later in the plan.

           1.1    A limit on the amount of a secured claim, set out in § 3.2, which may result          Included      X Not included
                  in a partial payment or no payment at all to the secured creditor

           1.2    Nonstandard provisions, set out in Part 9                                         X Included            Not included




CSD 1300                                                 Chapter 13 Plan                                                    page 1
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 CSD 1300 (01/01/2022)     Debtor(s)   Kennan Edward Kaeder                       Case Number    23-03508-CL-13

 Part 2:     Plan Payments and Length of Plan

 2.1 Regular payments.
 Debtor(s) will make regular payments to the trustee as follows:
     Complete one.
 $                          per month for 36 months (Applicable commitment period for below median debtor(s))
 $ 3,182.00                 per month for 60 months (Applicable commitment period for above median debtor(s))
 $                        per month          months (Despite applicable commitment period of 36 months,
 debtor(s) seek additional time to cure secured or priority arrearages or to make necessary payments to meet
 the liquidation test specified in § 5.2.2.)


 2.2 Irregular payments.
 Debtor(s) will change the payment amount at different time periods as follows:
       $                      per                  from                   to

           Insert additional payments as needed.



 2.3 Manner of payments.
 Regular payments must be made directly to the trustee from future earnings unless the court issues an
 earnings withholding order. Any other manner of payment must be specified by checking the box below.

           Other (specify method of payment):                                                       .


 2.4 Income tax issues.
     Check all that apply.
       x Debtor(s) will retain any federal or state tax refunds received during the plan term.
       x Debtor(s) will supply the trustee with a copy of each federal and state tax return filed
         during the plan term within 14 days of filing the return.

       x Debtor(s) will turn over to the trustee all federal and state income tax refunds, other than earned
         income or childcare tax credits, received during the plan term.
       x Debtor(s) will supply the trustee with federal and state tax returns filed during the plan
         term and will turn over to the trustee a portion of any federal and state income tax
         refunds received during the plan term as specified below.

           Debtor(s) must not change their withholding exemptions during the plan term
           unless there is an appropriate change in circumstances and will timely pay all
           post-confirmation tax liabilities directly to the appropriate taxing authority as they
           become due.




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 CSD 1300 (01/01/2022)     Debtor(s)   Kennan Edward Kaeder                       Case Number    23-03508-CL-13

 2.5 Additional payments.
     Check one. If neither box is checked, “None” applies.
           None. If “None” is checked, the rest of § 2.5 need not be completed or reproduced.
       x Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below.
         Describe the source, estimated amount, and date of each anticipated payment.

       Lump sum amounts as receivables are collected.




 2.6 The total amount of estimated payments to the trustee provided for in §§ 2.1 through 2.5 is
     $ 190,920.00          .


 Part 3:      Treatment of Secured Claims

 3.1 Maintenance of payments and cure of any default.
     Check one. If neither box is checked, “None” applies.
       x None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
           The debtor(s) will maintain the contractual installment payments on the claims listed below, with
           any changes required by the applicable contract, and cure any default in payments on the
           secured claims listed below. The allowed claim for any arrearage amount will be paid under the
           plan, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts
           listed on a proof of claim or amended proof of claim filed before the filing deadline under
           Bankruptcy Rule 3002(c) control over any contrary amounts listed below. A tardily filed proof of
           claim will be disallowed unless it is estimated below or unless the debtor(s) brings a motion to
           allow the claim. If relief from the automatic stay is ordered as to any item of collateral listed in
           this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph
           as to that collateral will cease and all secured claims based on that collateral will no longer be
           treated by the plan. The final column includes only payments disbursed by the trustee rather
           than by the debtor.


 Name of creditor with last             Collateral       Amount of     Interest rate on Monthly plan       Estimated total
 4 digits of account number                              arrearage          arrearage    payment on         payments by
                                                                         (if applicable)  arrearage            trustee


                                                        $                          % $                 $


                                                        $                          % $                 $


                                                        $                          % $                 $
        Insert additional claims as needed.




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3.2 Request for valuation of security and claim modification.

    To determine the proper valuation of real estate secured claims, the debtor(s) must timely file a
    motion in accordance with Local Bankruptcy Rule 3015-8 in addition to including the creditor in this
    section of the plan. No such motion is necessary for valuation determinations for personal property
    secured claims.
           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an
           unsecured claim under Part 5 of this plan unless the claim is entitled to priority status, in which
           case it will be provided in Part 4. If the amount of a creditor’s secured claim is listed below as
           having no value, the creditor’s allowed claim will be treated in its entirety as an unsecured claim
           under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total
           claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.
           The holder of any claim listed below as having value in the column headed Amount of secured claim
           will retain the lien until the earlier of the following events as applicable to the particular secured
           creditor: 1) payment of the underlying debt determined under nonbankruptcy law; 2) discharge under
           11 U.S.C. § 1328, or 3) completion of payments under the plan if the debtors(s) are not entitled to a
           discharge. After the date applicable to termination of the lien, it will be released by the creditor unless
           the claim is a nondischargeable claim owed to a governmental entity. See Local Bankruptcy Rule
           3015-8.
    Check one. If neither box is checked, “None” applies.
      x None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
           The remainder of this paragraph will be effective only if the applicable box in Part 1 of
           this plan is checked.

           The debtor(s) request that the court determine the value of the secured claims to be treated in
           the manner below. For each non-governmental secured claim listed below, the debtor(s) state
           that the value of the secured claim should be as stated below in the column headed Amount of
           secured claim. For secured claims of governmental units, unless otherwise ordered by the court
           pursuant to a claim objection, the amounts listed in proofs of claim filed in accordance with the
           Bankruptcy Rules control over any contrary amounts listed below. For each listed secured
           claim, the controlling amount of the claim will be paid in full under the plan with interest at the
           rate stated below.

    3.2.1 Identify creditor and collateral.


  Name of creditor with last       Estimated amount           Collateral          Value of         Amount of claims
    4 digits of account                of creditor's                              collateral      senior to creditor's
          number                    allowed secured                                                allowed secured
                                           claim                                                         claim


                                  $                                          $                    $


                                  $                                          $                    $


                                  $                                          $                    $

        Insert additional claims as needed.




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    3.2.2 Treatment of creditor.


  Name of creditor with last     Amount of allowed       Interest rate as      Monthly payment     Estimated total of
    4 digits of account           secured claim          provided by law         to creditor       monthly payments
          number


                                 $                                          % $                    $


                                 $                                          % $                    $


                                 $                                          % $                    $

        Insert additional claims as needed.


3.3 Secured claims excluded from 11 U.S.C. § 506.
    Check one. If neither box is checked, “None” applies.
      x None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
           The claims listed below were either:
           (1) secured by real estate and matured pre-petition;
           (2) secured by real estate and will mature during the term of the plan;
           (3) incurred within 910 days before the petition date and secured by a purchase money security
               interest in a motor vehicle acquired for the personal use of the debtor(s); or
           (4) incurred within 1 year of the petition date and secured by a purchase money security
               interest in any other property of value.
           These claims will be paid in full under the plan with interest at the rate stated below.
           Unless otherwise ordered by the court, the claim amount stated on a proof of claim or
           modification of a proof of claim filed before the filing deadline under Bankruptcy Rule
           3002(c) controls over any contrary amount listed below. The final column includes only
           payments disbursed by the trustee rather than by the debtor.


  Name of creditor with last            Collateral          Amount of       Interest         Monthly          Estimated
    4 digits of account                                       claim           rate           payment            total
          number                                                                                              payments


                                                        $                              % $                $


                                                        $                              % $                $


                                                        $                              % $                $


                                                        $                              % $                $


        Insert additional claims as needed.


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3.4 Surrender of collateral to secured creditors.
    Check one. If neither box is checked, “None” applies.
      x None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the
           creditor’s claim. The stays under 11 U.S.C. § 362(a) and § 1301 will terminate with respect to
           the surrendered property on the effective date of the plan without the requirement of any further
           order. The stays will otherwise remain in effect. Any allowed unsecured claim resulting from the
           disposition of the collateral will be treated in Part 5 below.


Name of creditor with last 4 digits of account number            Collateral




3.5 Intentional exclusion of claim from treatment under the plan.
    Secured and partially secured creditors who received proper notice but who do not timely file a proof of
    claim, and who are not provided for elsewhere in the plan, will be considered excluded creditors and treated
    in this section.
    Check one. If neither box is checked, “None” applies.
      x None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
           The claims held by creditors listed below will not be provided for under the plan, and the plan
           will not affect any of the claimant's rights under applicable law.

Name of creditor and description of claim                        Description of claim




        Insert additional claims as needed.




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 Part 4:     Treatment of Priority Claims

 4.1 Treatment of priority claims.
 All allowed priority claims other than those treated in §§ 4.5 and 4.6 of the plan will be paid in full without
 interest.
 4.2 Interest exception.
 If the plan provides interest to unsecured nonpriority creditors, that same rate of interest will be paid to all
 creditors for which interest is not otherwise specifically provided under this plan.
 4.3 Trustee’s fees.
 The trustee will receive a fee, the percentage of which is set by the United States Trustee in accordance with
 applicable law. The trustee’s fees are estimated to        5.6 % of plan payments; and during the plan
 term, they are estimated to total $ 178.19           .
 4.4 Adequate protection payments.
 The trustee will make pre-confirmation adequate protection payments to secured creditor, identified in General
 Order 175-F, from plan payments received from the debtor(s), as this order may be amended from time to time.
 4.5 Domestic support obligations.
     Check one. If neither box is checked, “None” applies.
       x None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
             The allowed priority claims listed below are based on a domestic support obligation owed to a
             spouse or a dependent as scheduled or in the amount set forth in a proof of claim, which will
             control in the event of a conflict.


      Name of creditor                                                        Amount of claim to be paid by trustee

                                                                              $

                                                                              $

                                                                              $
           Insert additional claims as needed.




 4.6 Assigned domestic support obligations.


             The allowed priority claims listed below are based on a domestic support obligation that has
             been assigned to or is owed to a governmental unit and will be paid less than the full amount
             of the claim under 11 U.S.C. § 1322(a)(4), but not less than the amount that would have been
             paid on such claim if the estate of the debtor(s) were to be liquidated under chapter 7. See 11
             U.S.C. § 1325(a)(4).




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      Name of creditor                                                      Amount of claim to be paid by trustee

                                                                             $

                                                                             $

                                                                             $
     Even if a domestic support obligation claim is not listed here, debtor(s) must nevertheless pay it in full to
     receive a discharge.

        Insert additional claims as needed.



 4.7 Attorney’s fees.

 The total amount of attorney's fees to be paid under the plan is estimated to be $               . The balance
 of the fees awarded by court order to professionals for debtor(s) under 11 U.S.C. § 330 will be paid as follows:
     Check one
           on a priority basis before other priority claims other than trustee’s fees and adequate
           protection payments.

           in installment payments of $                      .


 4.8 Other priority claims and secured portion of federal and state tax claims.

 All priority claims identified in 11 U.S.C. § 507, including unsecured priority tax claims, are included in this
 section of the plan. The secured portion of a federal or state tax claim is also included in this section unless
 specifically provided for elsewhere in this plan.
     Check one. If neither box is checked, “None” applies.
      None. If “None” is checked, the rest of § 4.8 need not be completed or reproduced.
   x The debtor(s) estimate the total amount of priority and secured tax claims to be paid under this section
     of the plan to be $ 175,000.00           . This sum is a total of all of the payments listed below to be
     paid in accordance with this section. Priority claim payments are owed to the following creditors in the
     following amounts.
       Check all that apply.

           Internal Revenue Service in the estimated amount of $ 100,000.00                           .
           Franchise Tax Board in the estimated amount of $                         .
           California Department of Tax and Fee Administration in the estimated amount of $                            .
           Employment Development Department in the estimated amount of $ 75,000.00                       .
            County Property Tax Assessor (not real property taxes) in the estimated amount of $                        .
           Other in the estimated amount of $                         .




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 Part 5:    Treatment of Nonpriority Unsecured Claims

 5.1 General.
 Nonpriority unsecured claims will be paid to the extent allowed as specified in this Part.

 5.2 Nonpriority unsecured claims not separately classified.

 Allowed nonpriority unsecured claims that are not separately classified in this plan will be paid, pro rata, all
 funds remaining after payment of all other creditors provided under the plan. Payments to unsecured creditors
 will be allowed to the extent paid if an allowed amended, late filed, or late added claim reduces the amount
 available to unsecured creditors under this section.

 5.2.1 Projected payment to nonpriority unsecured creditors.

 Based upon the total payments to the trustee listed in § 2.6 of the plan, minus the payments under the plan
 on the claims scheduled by the debtor(s) that are provided for in §§ 3.1 through 3.3, Part 4, §§ 5.3 through
 5.5, and Part 6 of the plan, the estimated payment to allowed nonpriority unsecured claims not separately
 classified under the plan is $ 0.00                   . This amount will be shared on a pro-rata basis on these
 claims. This amount will not be reduced by claims arising under 11 U.S.C. § 1305 and §§ 507(a)(1)(A) and (B)
 that are not fully addressed in the plan, but may otherwise increase or decrease.

 5.2.2 Required payment to nonpriority unsecured creditors under the liquidation test.

 If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid
 approximately $ 0.00                      . The total of the payments on allowed nonpriority unsecured claims will
 be made in at least this amount, and debtor(s) will be required to make payments in addition to those specified
 in Part 2 to prevent the plan from going into default.

 5.3 Interest on allowed nonpriority unsecured claims not separately classified.

     Check one. If neither box is checked, “None” applies.
       x None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

           Once nonpriority unsecured claims are paid 100% without interest, accrued simple interest at an annual
           percentage rate of      % calculated as of the petition date will be paid to the extent of available
           funds.

  5.4 Non-filing co-debtor claim treatment for maintenance of payments and cure of any default on
      nonpriority unsecured claims.

     Check one. If neither box is checked, “None” applies.
       x None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.
           The debtor(s) will maintain the contractual installment payments and cure any default in payments on
           the unsecured claims listed below on which the last payment is due after the final plan payment. The
           allowed claim for the arrearage amount will be paid under the plan. Filed proof of claim amounts will
           control over scheduled amounts of claims.




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Name of creditor                                             Estimated                         Interest rate
with last 4 digits of account number                         arrearage                         on arrearage

                                                              $                                                         %

                                                              $                                                         %

                                                              $                                                         %

        Insert additional claims as needed.



5.5 Other separately classified nonpriority unsecured claims.

    Check one. If neither box is checked, “None” applies.
       x None. If “None” is checked, the rest of § 5.5 need not be completed or reproduced.
           The nonpriority unsecured allowed claims listed below are separately classified and will be
           treated as follows:



  Name of creditor                            Basis for separate             Amount of claim to be      Interest rate
                                              classification and treatment   paid over life of plan     (if applicable)

                                                                             $                                          %

                                                                             $                                          %

                                                                             $                                          %

        Insert additional claims as needed.




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 Part 6:      Executory Contracts and Unexpired Leases

 The executory contracts and unexpired leases listed below are assumed and will be treated as specified.
 All other executory contracts and unexpired leases are rejected.

      Check one. If neither box is checked, “None” applies.
            None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
            Assumed items. The final column includes only payments disbursed by the trustee rather
            than by the debtor(s).



   Name of creditor              Property                 Treatment                      Current installment        Amount of
                                 description              (Refer to other plan section   payment                    arrearage to be
                                                          if applicable)
                                                                                         (Disbursed by Debtor(s))   paid by trustee
   Jeffrey Cameron               645 Front St, No 707
                                 San Diego, Ca 92101                                     $ 3,750.00                 $ 0


                                                                                         $                          $

                                                                                         $                          $


           Insert additional contracts or leases as needed.


 Part 7:     Order of Distribution of Trustee Payments

Trustee will have discretion to determine the order of distribution within the requirements of applicable law
and whether to reserve payment to claims that are subject to a pending objection.


 Part 8:     Vesting of Property of the Estate

8.1 General.

Income and earnings of the debtor(s) will remain vested in the estate until the case is closed. Other property of
the estate will revest in debtor(s) upon confirmation of the plan except as elected in Section 8.2.

8.2 Election.

The following assets will remain property of the estate until the case is closed:




8.3 Revesting.

The revesting of an asset will be subject to all liens and encumbrances in existence when the case was
filed, except those liens avoided by court order or extinguished by operation of law.




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 Part 9:      Nonstandard Plan Provisions

 Check “None” or List Nonstandard Plan Provisions
            None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
 provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out
 elsewhere in this plan are ineffective.
 The following plan provisions will be effective only if there is a check in the box “Included” in § 1.2.
       Contribution of business receivables as collected.




 Part 10: Signatures

 Signatures of Debtor(s) and Debtor(s)’ Attorney
 If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s)’ signatures are
 optional. The attorney for the Debtor(s), if any, must sign below.


           Kennan E. Kaeder
    Signature of Debtor 1                                  Signature of Debtor 2
           Executed on   11        21       2023                  Executed on
                         MM / DD / YYYY                                         MM / DD / YYYY




    Signature of Attorney for Debtor(s)                   Date
                                                                    MM / DD / YYYY


 By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
 also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
 those contained in CSD 1300, other than any nonstandard provisions included in Part 9.




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